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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

ABEL S. BELTRAN,

                        Plaintiff,

v.                                                         Case No: 6:15-cv-1018-Orl-22TBS

GUYA ENTERPRISES, INC. and SHAY
BENNAIM,

                        Defendants.


                                            ORDER

       This cause comes before the Court on the Joint Report Regarding Settlement (Doc. No. 21)

filed November 16, 2015.

       Based on the foregoing, it is ordered as follows:

       1.     No later than December 28, 2015 the parties shall either file a Joint Stipulation of

Dismissal, or a Motion to Approve Settlement with supporting documentation, or a Case

Management Report.

       DONE and ORDERED in Chambers, in Orlando, Florida on December 16, 2015.




Copies furnished to:

Counsel of Record
Unrepresented Parties
